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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

HEALTH REPUBLIC INSURANCE
COMPANY,

                                                         No. 1:16-cv-00259-MMS
                Plaintiff,
                on behalf of itself and all others       (Judge Sweeney)
                similarly situated,

        vs.

THE UNITED STATES OF AMERICA,

                Defendant.


                                       JOINT STATUS REPORT

        Pursuant to the Court’s August 24, 2020 order (Dkt. 92), the Arches Subclass and the

United States submit this joint status report. The Arches Subclass and the United States have

agreed to the language of a stipulation to judgment. Arches has initiated the process of obtaining

approval to file the stipulation from the court overseeing its liquidation. Accordingly, the Parties

request that the Court enter an order requiring the Parties to submit either a stipulation to judgment

or a joint status report in 28 days.




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DATED: September 18, 2020                     Respectfully submitted,

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